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    Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 1 of 10 Pageid#: 2044

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       John Doe
       98 West 1st Street
       Yuma, AZ 85364




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Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 2 of 10 Pageid#: 2045

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                                    W estern DistrictofVirginia
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  Thefollowing transaction wasentered on 3/22/2018 at10:54 AM EDT and ftled on 3/22/2018

   Case Nam e:             Sinesetalv.Kessleretal
   Case Num ber:           3:17-cv-00072-NKM -JCH
   Filer:
   Docum entNum ber: 284


  DocketText:                                                            X
  ORDER denyingasmoot(1261M otion f0rProhibition ofrecording parties'discovery
  negotiations.SignedbyMagistrateJudgeJoelC.Hoppeon3/22/18.(jcj)
  3:17-cv-00072-NKM -JCH Notlcehasbeen electronlcallym ailed t0:
  ElmerW oodard isuecrooks@ comcast.net
  RobertT.Cahill rcahill@ cooley.com ,droelofs@ cooley.com ,ebolton@ cooley.com ,
  jvanbenten@cooley.com,slappin@ cooley.com
  David E.M ills dmills@ cooley.com
  David Leon Campbell dcam pbell@ dhdglaw.com
  BryanJeffreyJones bryan@bjoneslegal.com
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  Philip M atthew Bowm an pbowm an@ bsfllp.com
  JoshuaJamesLibling jlibling@bsfllp.com
  Karen Leah Dunn    kdunn@ bsftlp.com
Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 3 of 10 Pageid#: 2046

  W illiam Anthony Isaacson wisaacson@ bsfllp.com
  JoshuaAdam M atz jmatz@kaplanandcompany.com
  GabrielleE.Tenzer gtenzer@ kaplanandcompanyaconl
  M ichaelEnoch Peinovich mpeinovich@ gm ail.com
  3:17-cv-00072-NKM -JCH Noticehasbeen deliveredby otherm eanst0:
  David Duke
  240 Garden Avenue
  M andeville,LA 70471
  Jam esEdward Kolenich
  Kolenich Law Oftk e
  9435 W aterstoneBlvd.,Suite 140
  Cincinnati,OH 45249
  Jolm Doe
  98 W est1stStreet
  Yuma,AZ 85364
  Richard Spencer
  1001-A King Street
  Alexandria,VA 22314

  Thefollowingdocumentts)areassociated withthistransaction:
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                                  CharlottesvilleDivision                                  k.f.?% Le.

  ELIZM ETH Sm ES,eta1.,
       Plaintiffs,                                 CivilAction No.3:17cv00072



  JASON KESSLER,eta1.,                             By: JoelC.Hoppe
       Defendants.                                 United StatesM agistrateJudge

        Tllism atterisbefore the Courton Plaintiffs'M otion to PrecludeDefendantM ichael

  Peinovich from RecordingtheParties'DiscoveryN egotiations.ECF No.126.Peinovich filed a

  responsein opposition,ECF No.134,andb0thpartiesaddressedthemotion atahearing and

  scheduling conferenceon M arch 16,2018.Atthehearing,the Courtrem inded a11counseland

  self-represented partiesthattheym ustadhereto thespiritandpurposeofthefederalrules

  govem ing civildiscovery,which requirecooperation and ''com munication ratherthan

  confrontation,''M ancia v.M ay-flowerTextilek
                                              vcnw.Co.,253F.R.D.354,358(D.M d.2008).See
  generallyFed.R.Civ.P.26(g)advisorycommittee'snoteto 1983amendment.TheCourtasked
  Peinovich notto record hisconversationswith Plaintiffs'counsel,and Peinovich agreed.

  M oreover,dudng thescheduling conference,theCourtandthepartiesaddressedthetopicsset

  forthinRule26(9 oftheFederalRulesofCivilProcedure.Accordingly,forthesereasonsand
  thosestated on therecord duringthehearing,Plaintiffs'm otion,ECF N o.126,ishereby

  D EN IED asm oot.

         Itisso ORD ERED .

         TheClerk shalldelivera copy ofthisOrderto counselofrecord and to Defendant

  Peinovich.

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  Thefollowing transaction wasentered on 3/22/2018 at10:57 AM EDT and flled on 3/22/2018

    Case Nam e:           Sinesetalv.Kessleretal
    CaseNum ber:          3:17-cv-00072-NKM -JCH
   Filer:
   Docum entNum ber: 285


  DocketText:
  ORDER denying(258)M otion forS'
                                anctions.Signed byM agistrateJudgeJoelC.Hoppecn
  3/22/18.Qcj)
  3:17-cv-00072-NKM -JCH Noticehasbeen electronicallym ailed t0:
  ElmerW oodard isuecrooks@ comcast.net
  RobertT.Cahill rcahill@ cooley.com,droelofs@ cooley.com ,ebolton@ cooley.com ,
  jvanbenten@cooley.com,slappin@cooley.com
  David E.M ills dmills@ cooley.com
  David Leon Campbell dcam pbell@ dhdglaw.com
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  ebyoung@kaplu u dcompany.com,jpeene@kaplanandcompany.com,
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  Karen Leah Dunn kdunn@ bsfllp.com
Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 7 of 10 Pageid#: 2050

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  Gabrielle E.Tenzer gtenzer@ kaplanandcompany.com
  M ichaelEnoch Peinovich mpeinovich@ gm ail.com
  3:17-cv-00072-NKM -JCH Noticehasbeen delivered by othermeansto:
  David Duke
  240 Garden Avenue
  M andéville,LA 70471
  Jam esEdward Kolenich
  Kolenich Law Office
  9435 W aterstoneBlvd.,Suite 140
  Cincinnati,OH 45249
  John Doe
  98 W est1stStreet
  Yuma,AZ 85364
  Richard Spencer
  1001-A King Street
  Alexandda,VA 22314

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  ELIZABETH STNES,etal.s
       Plaintiffs,                                 CivilActionN o.3:17cv00072



  JASON KESSLER,eta1.,                             By: JoelC.Hoppe
       D efendants.                                United StatesM agistrateJudge

        ThismatterisbeforetheCourton.DefendantM ichaelPeinovich'sM otion foragagorder

  and sanctionsagainstPlaintiffs'counselRobertaKaplan.ECF No.258.Them otion isbeforem e

  byreferralunder28U.S.C.j636(b)(1)(A),andcanberesolvedwithoutftzrtherbriefingor
  argum ent.ECF No.101)P1s.'Resp.in Opp'n,ECF No.273.M r.Peinovich,appearingpro se,

  allegesthatM s.Kaplan Ethasbeen conducting an agw essivecam paign''in publicandon social

  mediathroughwhichshehastKrepeatedly...disparaggedqthedefendants''andpresentedthecase
  dlin atendentious,non-neutral,pro-plaintifflight.''Peinovich M ot.1.He askstheCourtto

  exerciseitsEtinherentauthodty''tosanctionM s.Kaplan'sextrajudicialstatementsby dismissing
  theAmended Complaint,or,in thealtem ative,to issue apretrialorderdirecting counseld'to

  ceaseherpublicitycampaignagainstthedefendants.''Id.at16,18(citingFed.R.Civ.P.
  16(c)(2)(P)).PlaintiffsrespondthatM s.Kaplan'spubliccommentsaboutthiscasetlhavea1l
  been consistentwith thenormsofattom ey speech''in civilproceedings,aswellaswith her

  professionaldtduty ofzealousadvocacy on behalfofthemen and wom en sherepresents.''P1s.'

  Resp.in Opp'n 1.

        Federalcourtsdo Zdhaveinherentpower''to sanction aparty oritscounselform isconduct

  Edthatoffendsthelegalprocess.''Am.Sci.& Eng'g,Inc.v.Autoclear,LLC,606 F.Supp.2d 617,

  620(E.D.Va.2008)(citingChambersv.NASCO,Inc,501U.S.32,46(1991:.tlBecauseof


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    Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 9 of 10 Pageid#: 2052




      theirvery potencyr''however,such Ssinherentpowersmustbeexercised withrestraintand

      discretion,''andusually only alerthe courtdeterminesthatno applicablestatutesorrtzlest'are

      uptothetask,''Chambers,50lU.S.at50.See,e.g.,28U.S.C.j 1927,
                                                                .Fed.R.Civ.P.11(c),
      37(e);W .D.Va.Gen.R.6(h).ldDiscretionincludescraftingasanction appropriatetoremedythe
      harm causedbyaparty'sabuseofthejudicialprocess,''BeachM art,Inc.,v.L&.
                                                                           .L Wings,Inc.,
      302F.R.D.396,406(E.D.N.C.2014),Siandthen onlytotheextentnecessary''toachievethat
      end,UnitedStatesv.Shafferft
                                .
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                                   /.Co.,11F.3d450,461(4thCir.1993).Dismissingan action
      isdlthemostextrem esanction''availableand shouldbereservedforwhen aparty orcounsel

      ttdeceivesEtheqcourtorabusestheprocessatalevelthatisutterly inconsistentwiththeorderly
      administrationofjusticeorunderminestheintegrityoftheprocess.''ShayerEquip.Co.,11F.3d
      at462.Here,whileitisclearthatM r.Peinovichtakesumbrage atM s.Kaplan'spublic

      comm entsaboutthiscase,theCourtisnotpersuadedthatcounselcontravened any applicable

      statuteornzle- letalonethatM s.Kaplan'sstatementsmightjustifydismissingherclients'
      lawsuit.Seeid.at462-63(outliningthesixfactorsacourtmustconsiderbeforedismissingan
      action,anddtrecognizingthatweseldom dismissclaimsagainstblamelessclients').
             M r.Peinovichisalsocorrectthatfederalcourtsoften issuepretdalorderstoitfacilitatleq
      thejust,speedy,andinexpensivedisposition ofEanqaction,''Fed.R.Civ.P.16(c)(2)(P),suchas
      theonealready issuedin thiscase,ECFNo.101.ButçEgblroadgagorders''liketheoneM r.
      Peinovich asksforhere EGarerestraintson expression andraiseFirstAm endm entconcerns.''

'     UnitedStatesexrel.Davisv.Prince,753F.Supp.2d 561,568(E.D.Va.2010),
                                                                       'c/ Hirschkop v.
      Snead,594F.2d356,373(4th Cir.1979)(enbanc)(holdingthatportionsofVirginiaSupreme
      Court'srulerestrictingattom eys'extrajudicialcommentsaboutpendingcivillitigationviolated
      theFirstandFourteenthAmendments).tflntheFourthCircuit,districtcourtsmayrestrict


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Case 3:17-cv-00072-NKM-JCH Document 294 Filed 04/05/18 Page 10 of 10 Pageid#: 2053




   extrajudicialstatementsbypartiesandcounselonlyifthosecommentspresentatreasonable
   likelihood'ofprejudicingafairtrial,''suchasbytaintingthejurypool.Prince,753F.Supp.2d
   at568(quotingInrcRussell,726F.2d 1007,1010(4thCir.1984:)seeWnz.Sci.dnSngk,606F.
   Supp.2dat625-26(ltcourtsmay disallow prejudicialextrajudicialstatementsby gcivilqlitigants
  thatdsktaintingorbiasingthejurypoo1.'').AlthoughMr.Peinovich contendsthatM s.Kaplan's
   publicstatem entshavet&fatally undermined''histûright...to afairtdalin thiscase,''Peinovich

   M ot.18,ts
            nothingpresented thusfarsuggests''counsel'sstatementsttpresenta lreasonable

   likelihood'oftaintingthejury
                              'pool,''Prince,75)F.Supp.zdat568.Notably,M s.Kaplan's
   comm entsdonotdirectly attribute any ofthethird-party statem ents,ofwhich M r.Peinovich

   objects,totheDefendants,andrestatingaDefendant'sownpubliccomments,asinthecaseof
   M atthew Heimbach,cannotbeconsideredunfairlyprejudicial.
         A ccordingly,DefendantPeinovich'smotion,ECF N o.258,ishereby DENIED .

          Itisso ORDERED .

          TheClerk shalldeliver'
                               a copy ofthisOrderto counselofrecordand to Defendant

   Peinovich.

                                             ENTER:M arch 22,2018
                                                        /. ,
                                             JoelC .H oppe
                                             United StatesM agistrateJudge




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